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                           EXHIBIT B
        Index of Register of Actions “ROA”
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SUPERIOR COURT OF CALIFORNIA
County of SAN DIEGO                                                     Register of Actions Notice

Case Number:     37-2021-00024676-CU-FR-CTL                                Filing Date:        06/04/2021
Case Title:      BORREGO COMMUNITY HEALTH FOUNDATION vs                    Case Age:           63 days
                 INLAND VALLEY INVESTMENTS LLC [IMAGED]
Case Status:     Pending                                                   Location:           Central
Case Category:   Civil - Unlimited                                         Judicial Officer:   Katherine Bacal
Case Type:       Fraud                                                     Department:         C-69

Future Events
Date             Time            Department                   Event
11/19/2021       09:00 AM        C-69                         Civil Case Management Conference - Complaint

Participants
Name                                        Role                    Representation
Borrego Community Health Foundation         Plaintiff               HATTON, GREGORY MACAULEY; Heck, Dan
                                                                    E
CALIFORNIA DEPARTMENT OF HEALTH             Defendant
CARE SERVICES
DRP Holdings LLC                            Defendant
Inland Valley Investments LLC               Defendant
LIGHTBOURNE, WILL                           Defendant
Promenade Square LLC                        Defendant

Representation
Name                                        Address                                            Phone Number
HATTON, GREGORY M                           12 Journey 255 Aliso Viejo CA 92656                (949) 474-4222
HECK, DAN E                                 12 Journey 255 Aliso Viejo CA 92656                (949) 474-4222, (949)
                                                                                               260-1181

ROA#      Entry Date                          Short/Long Entry                                 Filed By
    1     06/04/2021    Complaint filed by Borrego Community Health Foundation.     Borrego Community Health
                        Refers to: Inland Valley Investments LLC; DRP Holdings      Foundation (Plaintiff)
                        LLC; Promenade Square LLC; LIGHTBOURNE, WILL
     2    06/04/2021    Civil Case Cover Sheet filed by Borrego Community Health    Borrego Community Health
                        Foundation.                                                 Foundation (Plaintiff)
                        Refers to: Inland Valley Investments LLC; DRP Holdings
                        LLC; Promenade Square LLC; LIGHTBOURNE, WILL
     3    06/04/2021    Original Summons filed by Borrego Community Health          Borrego Community Health
                        Foundation.                                                 Foundation (Plaintiff)
                        Refers to: Inland Valley Investments LLC; DRP Holdings
                        LLC; Promenade Square LLC; LIGHTBOURNE, WILL
     4    06/07/2021    Summons issued.
     5    06/04/2021    Case assigned to Judicial Officer Bacal, Katherine.
     6    06/07/2021    Civil Case Management Conference scheduled for
                        11/19/2021 at 09:00:00 AM at Central in C-69 Katherine
                        Bacal.
     7    06/07/2021    Case initiation form printed.
     8    06/07/2021    Amended Complaint (First) filed by Borrego Community        Borrego Community Health
                        Health Foundation.                                          Foundation (Plaintiff)
                        Refers to: LIGHTBOURNE, WILL; Inland Valley
                        Investments LLC; Promenade Square LLC; DRP Holdings
                        LLC
     9    06/17/2021    Proof of Service of 30-day Summons & Complaint -            Borrego Community Health
                        Substitute filed by Borrego Community Health Foundation.    Foundation (Plaintiff)
                        Refers to: DRP Holdings LLC


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        Case 3:21-cv-01417-AJB-AGS Document 1-2 Filed 08/06/21 PageID.12 Page 3 of 3
San Diego Superior Court   Case: 37-2021-00024676-CU-FR-CTL        Title: BORREGO    COMMUNITY HEALTH
FOUNDATION vs I

      10     06/17/2021    Proof of Service of 30-day Summons & Complaint -                Borrego Community Health
                           Substitute filed by Borrego Community Health Foundation.        Foundation (Plaintiff)
                           Refers to: Promenade Square LLC
      11     06/17/2021    Proof of Service of 30-day Summons & Complaint -                Borrego Community Health
                           Substitute filed by Borrego Community Health Foundation.        Foundation (Plaintiff)
      12     07/08/2021    Notice - Other (Of Depositing of Interpleader Funds) filed by   Borrego Community Health
                           Borrego Community Health Foundation.                            Foundation (Plaintiff)
      13     07/14/2021    Notice - Other (Of Depositing of Interpleader Funds) filed by   Borrego Community Health
                           Borrego Community Health Foundation.                            Foundation (Plaintiff)
      14     07/13/2021    Stipulation - Other - Fee Due (Joint Stipulation for Leave to   Borrego Community Health
                           File Second Amended Complaint and Order) filed by               Foundation (Plaintiff); Inland
                           Borrego Community Health Foundation; Inland Valley              Valley Investments LLC
                           Investments LLC; DRP Holdings LLC; Promenade Square             (Defendant); DRP Holdings LLC
                           LLC.                                                            (Defendant); Promenade Square
                                                                                           LLC (Defendant)
      15     07/23/2021    Notice - Other (of Entry of Order on Joint Stipulation for      Borrego Community Health
                           Leave of Court for Plaintiff to File Second Amended             Foundation (Plaintiff)
                           Complaint) filed by Borrego Community Health Foundation.
      16     07/30/2021    Amended Complaint (Second) filed by Borrego Community           Borrego Community Health
                           Health Foundation.                                              Foundation (Plaintiff)
                           Refers to: Inland Valley Investments LLC; Promenade
                           Square LLC; DRP Holdings LLC; LIGHTBOURNE, WILL;
                           CALIFORNIA DEPARTMENT OF HEALTH CARE
                           SERVICES
      17     08/04/2021    Notice of Errata filed by Borrego Community Health              Borrego Community Health
                           Foundation.                                                     Foundation (Plaintiff)




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